        Case 17-10979-GLT                       Doc 91        Filed 01/31/23 Entered 01/31/23 12:36:13                     Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              NORMAN E. VOLLENTINE


     Debtor 2              STEPHANIE A. VOLLENTINE
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          17-10979GLT




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  KEYBANK NA**                                                                   13-2

 Last 4 digits of any number you use to identify the debtor's account                         0   0   2   0

 Property Address:                             3272 DUBLIN RD
                                               WATERFORD PA 16441




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $        1,839.65

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $        1,839.65

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $        1,839.65



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $499.60
         The next postpetition payment is due on                11 / 1 / 2022
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     NORMAN E. VOLLENTINE                                             Case number   (if known)   17-10979GLT
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    01/31/2023


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     NORMAN E. VOLLENTINE                                        Case number   (if known)   17-10979GLT
             Name




                                               Disbursement History

Date         Check #    Name                                   Posting Type                                             Amount
MORTGAGE ARR. (Part 2 (b))
05/25/2021   1197845    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR                             188.90
06/25/2021   1201025    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR                             307.56
07/26/2021   1204236    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR                             113.41
09/24/2021   1210479    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR                              53.39
10/25/2021   1213555    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR                             149.47
11/22/2021   1216595    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR                              67.92
12/23/2021   1219655    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR                             147.71
01/26/2022   1222728    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR                             143.28
02/23/2022   1225619    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR                             144.20
03/25/2022   1228567    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR                             143.35
04/26/2022   1231590    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR                             142.49
05/25/2022   1234623    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR                             141.65
06/27/2022   1237646    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR                              96.32
                                                                                                                       1,839.65

MORTGAGE REGULAR PAYMENT (Part 3)
11/21/2017   1061241    KEYBANK NA(*)   [REAL ESTATE]          AMOUNTS DISBURSED TO CREDITOR             3,497.67
12/21/2017   1064526    KEYBANK NA(*)   [REAL ESTATE]          AMOUNTS DISBURSED TO CREDITOR             1,896.64
01/08/2018   1061241    KEYBANK NA(*)   [REAL ESTATE]          CANCELLED CHECK TO CREDITOR/CONTINUING DEBT
                                                                                                        -3,497.67
01/08/2018   1066154    KEYBANK NA(*)   [REAL ESTATE]          PREWRITTEN CHECK TO CREDITOR/CONTINUING DEBT
                                                                                                         3,497.67
01/25/2018   1067958    KEYBANK NA(*)   [REAL ESTATE]          AMOUNTS DISBURSED TO CREDITOR             1,896.64
02/23/2018   1071142    KEYBANK NA                             AMOUNTS DISBURSED TO CREDITOR             1,531.90
03/28/2018   1074332    KEYBANK NA                             AMOUNTS DISBURSED TO CREDITOR             1,896.64
04/24/2018   1077576    KEYBANK NA                             AMOUNTS DISBURSED TO CREDITOR             1,898.62
05/25/2018   1080832    KEYBANK NA                             AMOUNTS DISBURSED TO CREDITOR             1,825.60
06/22/2018   1083976    KEYBANK NA                             AMOUNTS DISBURSED TO CREDITOR             1,778.86
07/26/2018   1087188    KEYBANK NA                             AMOUNTS DISBURSED TO CREDITOR             1,611.12
08/28/2018   1090406    KEYBANK NA                             AMOUNTS DISBURSED TO CREDITOR             1,687.72
09/25/2018   1093537    KEYBANK NA                             AMOUNTS DISBURSED TO CREDITOR             1,708.32
10/29/2018   1096784    KEYBANK NA                             AMOUNTS DISBURSED TO CREDITOR             1,819.43
11/27/2018   1099922    KEYBANK NA                             AMOUNTS DISBURSED TO CREDITOR             1,836.25
12/21/2018   1103036    KEYBANK NA                             AMOUNTS DISBURSED TO CREDITOR             1,846.47
01/25/2019   1106239    KEYBANK NA                             AMOUNTS DISBURSED TO CREDITOR             1,852.66
03/25/2019   1112779    KEYBANK NA                             AMOUNTS DISBURSED TO CREDITOR             3,715.88
04/26/2019   1116081    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR             1,859.61
05/24/2019   1119478    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR             1,880.14
06/25/2019   1122872    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR             1,901.59
07/29/2019   1126317    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR             1,930.80
08/27/2019   1129785    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR             1,722.04
09/24/2019   1133098    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR               120.90
10/24/2019   1136422    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR             4,052.66
11/25/2019   1139887    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR               287.92
12/23/2019   1143277    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR             3,327.07
01/28/2020   1146731    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR             1,621.69
02/25/2020   1150257    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR             1,985.81
03/23/2020   1153735    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR               314.50
04/27/2020   1157198    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR             3,965.11
05/26/2020   1160535    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR             2,052.21
06/26/2020   1163669    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR             1,745.90
07/29/2020   1166796    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR             1,745.61
08/25/2020   1169871    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR             1,745.46
09/28/2020   1172958    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR             1,745.40
11/24/2020   1179129    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR             3,543.78
01/25/2021   1185041    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR             1,803.14
02/22/2021   1188162    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR             2,189.62
06/25/2021   1201025    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR               610.67
07/26/2021   1204236    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR               453.52
09/24/2021   1210479    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR               899.52
10/25/2021   1213555    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR               449.76
11/22/2021   1216595    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR               449.76
12/23/2021   1219655    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR               449.76
01/26/2022   1222728    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR               467.06
02/23/2022   1225619    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR               458.41

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Debtor 1     NORMAN E. VOLLENTINE                                        Case number   (if known)   17-10979GLT
             Name




                                               Disbursement History

Date         Check #    Name                                   Posting Type                                              Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
03/25/2022   1228567    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR                              458.41
04/26/2022   1231590    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR                              458.41
05/25/2022   1234623    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR                              458.41
06/27/2022   1237646    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR                              458.41
07/26/2022   1240598    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR                              458.41
08/24/2022   1243499    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR                              458.41
09/27/2022   1246364    KEYBANK NA**                           AMOUNTS DISBURSED TO CREDITOR                              534.01
                                                                                                                       81,364.31




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                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 5 of 5
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

NORMAN E. VOLLENTINE
STEPHANIE A. VOLLENTINE
3272 DUBLIN RD
WATERFORD, PA 16441

JEFFREY G HERMAN ESQ
HERMAN & HERMAN LLC
114 HIGH ST
PO BOX 455
WATERFORD, PA 16441

KEYBANK NA**
POB 94968
CLEVELAND, OH 44101

KEYBANK NA(*) [REAL ESTATE]
ATTN BANKRUPTCY PMTS
4910 TIEDEMAN RD
BROOKLYN, OH 44144




1/31/23                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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